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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                      EASTERN DIVISION AT COLUMBUS

UNITED STATES OF AMERICA

-vs-
                                               Case No. 2:08-cr-141 (1)
DANIEL M MIKLOS
_________________________________


                          REPORT AND RECOMMENDATION
                          CONCERNING PLEA OF GUILTY

        The Defendant, by consent, has appeared before me pursuant
to Rule 11, F.R.Cr.P. and has entered a plea of guilty to Count
one (1) of the Indictment.        After examining the Defendant under
oath concerning each of the subjects mentioned in Rule 11, I
determine that the defendant is competent and capable of entering
an informed plea, that guilty plea is knowingly and voluntary and
that the offense charged is supported by an independent basis in
fact containing each of the essential elements of such offense.
        I therefore RECOMMEND that the plea agreement and the plea
of guilty be accepted and that the Defendant be adjudged guilty
and sentenced accordingly.
        The Defendant remains on bond pending sentencing.


Date:       August 14, 2008                 /s/ Terence P. Kemp
                                           UNITED STATES MAGISTRATE JUDGE




                                    NOTICE

     Failure to file written objections to this Report and
Recommendation within ten (10) days from the date of its service shall
bar an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C. Section
636(b)(1)(B).
